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      UNITED STATES DISTRICT COURT
      SOUTHERN DISTRICT OF GEORGIA
           SAVANNAH DIVISION

UNITED STATES

V.                    405CR059


MARTIN J. BRADLEY III, et al.

                  ORDER


   The Receiver’s unopposed Motion to
Confirm Sale of Real Properties, doc. # 1193,
is GRANTED.

     This 1 day of December, 2008.



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B. AVANT EDENFIELD, JUDGE
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF GEORGIA
